                                          Case 18-03137-RLM-7A        Doc 24 FiledFORM 1
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                                                                                                                                                        2 No:        1
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                               ASSET CASES

Case No.:                        18-03137                                                                                       Trustee Name:                        Gregory K. Silver
Case Name:                       FOXWORTHY, MARK EARL                                                                           Date Filed (f) or Converted (c):     04/25/2018 (f)
For the Period Ending:           09/30/2018                                                                                     §341(a) Meeting Date:                06/08/2018
                                                                                                                                Claims Bar Date:                     09/12/2018
                                     1                                2                       3                           4                        5                                     6

                       Asset Description                           Petition/         Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                           Unscheduled        (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                        Value                  Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                   Less Liens, Exemptions,
                                                                                      and Other Costs)

Ref. #
1        9643 West 600 North Thorntown, IN -                        $182,400.00                      Unknown                                            $0.00                                 Unknown
         46071-0000 Boone County 4 Bedrooms, 1 Bath,
         4,200 Square Feet (Held as Mark E. Foxworthy)
         Purchased in 1998 for $125,000
2        Make: Ford Model: F150 Year: 1998 Mileage:                    $675.00                           $0.00            OA                            $0.00                                        FA
         141,320 Other Information: Debtor's intention is
         to keep this vehicle. Vehicle is Paid in Full.
         Vehicle's frame is rusted out and twisted.
3        Make: Pontiac Model: Sunfire Year: 2004                       $460.00                           $0.00            OA                            $0.00                                        FA
         Mileage: 128,564 Other Information: Debtor's
         intention is to keep this vehicle. Vehicle is Paid
         in Full. Vehicle's frame is twisted and the
         front-end is wrecked. Debtor paid $800 in 2013.
4        Normal household goods and furnishings                       $1,095.00                          $0.00            OA                            $0.00                                        FA
         including Refrigerator, Microwave, Oven,
         Table/Chairs, Small Appliances, Washer/Dryer,
         Sofa, Coffee/End Tables, Lamps, 2 Beds, 2
         Dressers, Lawn Equipment, Grill.
5        Small Electrical items, Entertainment Center, 1               $370.00                           $0.00            OA                            $0.00                                        FA
         Television, DVD Player, Camera.
6        DVD's and Books                                                  $30.00                         $0.00            OA                            $0.00                                        FA
7        Necessary wearing apparel                                        $65.00                         $0.00            OA                            $0.00                                        FA
8        Costume jewelry, watches, rings.                                 $10.00                         $0.00            OA                            $0.00                                        FA
9        1 Dog.                                                           $65.00                         $0.00            OA                            $0.00                                        FA
10       Checking Account Home Green Bank - Account                    $398.00                           $0.00            OA                            $0.00                                        FA
         #5652
11       401(k) Through Employer.                                    $57,850.00                          $0.00            OA                            $0.00                                        FA
12       Pension Through Employer.                                  $125,000.00                          $0.00            OA                            $0.00                                        FA
13       FED: $508; STATE: $207. Already 2017 Tax                          $0.00                         $0.00            OA                            $0.00                                        FA
         Refund Received and spent. Reporting (Previous
         Purposes only. Year):
                                      Case 18-03137-RLM-7A           Doc 24 FiledFORM 1
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                                                                                                                                                              2 No:        2
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                     18-03137                                                                                                Trustee Name:                        Gregory K. Silver
Case Name:                    FOXWORTHY, MARK EARL                                                                                    Date Filed (f) or Converted (c):     04/25/2018 (f)
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                     Asset Description                            Petition/                Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled               (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                         Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                         Less Liens, Exemptions,
                                                                                            and Other Costs)



TOTALS (Excluding unknown value)                                                                                                                                               Gross Value of Remaining Assets
                                                                  $368,418.00                                  $0.00                                           $0.00                                   $0.00



Major Activities affecting case closing:
 09/30/2018    Evaluating equity in residence
 06/13/2018    Potential sale of real estate


Initial Projected Date Of Final Report (TFR):   12/31/2018                      Current Projected Date Of Final Report (TFR):       12/31/2018               /s/ GREGORY K. SILVER
                                                                                                                                                             GREGORY K. SILVER
